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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.                                             Case No. 20-cr-206 (RDM)

MONDO BROOKS

                              DEFENDANT MONDO BROOKS’
                                  NOTICE OF FILING

       Pursuant to this Court’s Order of November 2, 2020, paragraph 10, in which the Court

ordered the Third Party Custodian to send to Defendant’s counsel an e-mail attesting, under the

penalty of perjury, to Defendant’s compliance with every aspect of the Order and any other conditions

imposed by the Pretrial Services Agency, please find attached the Defendant’s father’s e-mail.

                                                      Respectfully submitted,


                                                      /s/ Richard S. Stern
                                                      _________________________
                                                      RICHARD S. STERN
                                                      D.C. Bar No. 205377
                                                      932 Hungerford Drive #37A
                                                      Rockville, MD 20850
                                                      301-340-8000
                                                      Email: rssjrg@rcn.com
                                                      Attorney for Mr. Brooks

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have electronically served all counsel of record on January
15, 2021.


                                                      /s/ Richard S. Stern
                                                      _________________________
                                                      RICHARD S. STERN




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